1. The testimony of a number of eyewitnesses shows that the accused, without provocation, shot the deceased three times with a pistol, from which wounds the deceased died before reaching the hospital. This evidence makes a prima facie case of wilful murder without mitigation. The accused in his statement to the jury did not contradict this evidence in any respect, but merely stated that he had no knowledge of the facts testified to. He offered no evidence to contradict the State's witnesses as to the killing in any particular, the sole defense made being the testimony of a number of relatives and friends of the accused, which tended to show that his mind was unsound, and this testimony was contradicted by a number of witnesses for the State who testified that the accused was sane. The verdict of guilty without a recommendation is supported by the evidence, and the general grounds of the motion for new trial are without merit.
2. The excerpt from the charge complained of in special ground 1 was in substance that the burden was upon the State to prove to the satisfaction of the jury and beyond a reasonable doubt the guilt of the accused, and that the burden was upon the accused to establish his affirmative defense of insanity. This charge was not error because as contended, it limited the defense to the question of sanity. The only *Page 403 
two questions made by the evidence were whether or not the accused was guilty as charged, and whether or not he was sane. These were properly presented by the charge complained of.
3. Special grounds 7 and 8 complain because the court allowed certain witnesses for the State to testify that immediately after the killing the defendant walked into the office and shot another official of the cotton mill, and went from there to the spinning room and shot another official of the mill, all transpiring within less than ten minutes; the objection being that the testimony was irrelevant, immaterial, and illustrated no issue in the case. There was no error in admitting the evidence over the objection. It was a part of the res gestae. Code, § 38-305; Lampkin v. State,  145 Ga. 40 (88 S.E. 563); Price v. State, 166 Ga. 120 (2) (142 S.E. 666); Worthy v. State, 192 Ga. 620 (2) (15 S.E.2d 854); Rozier v. State, 197 Ga. 420, 425 (3) (29 S.E.2d 602).
4. Special grounds 2 to 6, inclusive, complain of rulings disallowing named defense witnesses to testify to conversations had with the defendant, wherein he related to them various grievances which he had as an employee against the cotton mill of which the deceased was an official, having to do with wages and hours, and how the defendant said these grievances affected himself. The evidence was offered for the purpose of showing delusional insanity. Counsel for the accused stated to the court that he did not know whether the alleged grievances were true or not. The testimony was clearly inadmissible for the purpose for which it was offered or for any other purpose, and the court did not err in excluding it.  Bohler v. Hicks, 120 Ga. 800 (48 S.E. 306); Mars v.  State, 163 Ga. 43 (6) (135 S.E. 410); Barker v.  State, 188 Ga. 332 (4 S.E.2d 31).
Judgment affirmed. All the Justicesconcur.
        No. 15358. JANUARY 8, 1946. REHEARING DENIED FEBRUARY 21, 1946.
Willis Barnes was convicted on an indictment charging him with the murder of J. H. Clark on May 22, 1945. The undisputed evidence shows that on the date alleged the accused shot at Clark with a pistol four times, three bullets hitting him and resulting in his death before he could reach the hospital. At the time of the shooting the deceased was standing in front of his office talking to a Mr. Smith. The accused approached them, and, without anything having been said between the accused and the deceased, the accused shot at the deceased four times. The deceased had no weapon, had not spoken to the accused, and made no attempt of any kind whatever to attack him. Immediately after the shooting ceased, the accused turned and went into the office of the cotton mill of which the deceased was an officer and where the accused was *Page 404 
employed, and there shot and wounded one officer of the mill, and came out and entered the spinning room of the mill where he shot and killed another officer of the mill, all the shooting occurring within a period of approximately ten minutes.
The defendant introduced ten witnesses, all of whom were either relatives or associates of the accused, and who testified that his mind would go and come. It was also testified by some of the witnesses that there had been a number of cases of insanity in the defendant's family, and by others — that the defendant had suffered a blow or injury to his head some years ago, and that since that time he had at times shown an unsound mind by both words and acts. The State introduced approximately eight witnesses, two of whom were physicians who had attended the accused, and all testified that he was sane.
The accused made a very long statement to the jury, recounting his life story, and reciting that he had been reared under poor circumstances, was uneducated, had a wife and three children, had moved from place to place, and earned his living by manual labor, that the officials of the cotton mill, including Mr. Clark, the deceased, had been unfair to the employees, including the defendant, had opposed their organization of a labor union, had violated the law controlling wages and hours of employment, and that the deceased had sought to hire him to kill a named person. Nowhere in his statement did the defendant deny that he committed the act charged in the indictment, but as to that he merely said that he had no knowledge or recollection about it, expressing his regrets and requesting mercy from the jury.
The defendant's motion for new trial was amended by adding eight special grounds, the first of which complains of an excerpt from the charge. Grounds 2, 3, 4, 5, and 6 complain of a ruling permitting named State witnesses to testify about the shootings which the accused did immediately following the shooting of Mr. Clark and within approximately ten minutes from the time of that shooting, all of which was objected to on the ground that it was irrelevant, immaterial, and illustrated no issue in the case. Grounds 7 and 8 complain of the ruling disallowing the accused to show by named witnesses what the accused had told such witnesses were the conditions prevailing at the cotton mill and what the accused said his feelings were as a result of such conditions, *Page 405 
counsel for the defendant stating to the court that he did not know whether such alleged statements of the accused to such witnesses were true or false, and that the testimony was offered for the purpose of showing delusional insanity. The exception here is to the judgment overruling the motion for new trial as amended.